               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         EASTERN DIVISION
                        No. 2:21-CV-00034-JG

Lillie Brown Clark,                       )
as the Administrator                      )
of the Estate of Andrew Brown, Jr.,       )
                                          )
                     Plaintiff,           )
                                          )                ORDER
                                          )
                                          )
                                          )
                                          )
                                          )
Daniel Meads, et al.,                     )
                                          )
                     Defendants.          )
                                          )

      This Matter, having come before the Court on Plaintiff’s Motion for Leave to

File Supplemental Materials Regarding Approval of the Settlement as to the Minors’

Proceeds Under the Settlement Under Seal, and

It Appearing, upon argument of counsel and for good cause shown, that the Motion

should be granted,

      IT IS HEREBY ORDERED that Plaintiff’s is granted Leave to File Under

Seal, Supplemental Materials Regarding Approval of the Settlement as to the

Minors’ Proceeds Under the Settlement.

So, ORDERED This_______/______ 2022.




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                                   ______________________________
                                   James E. Gates
                                   United States Magistrate Court Judge




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